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                                                 U.S. Department of Justice
                                                 United States Attorney
                                                 Northern District of California


                                               11th Floor, Federal Building               (415)436-7200
                                               450 Golden Gate Ave., Box 36055
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                                                 July 12, 2023


BY EMAIL

Elizabeth Falk
elizabeth_falk@fd.org

       Re:    United States v. Olvin Isaac Gutierrez Nunez et al -3:23-CR-00030-SI


                        Letter Regarding SFPD Officer Hayes #449

Dear Mr. Vaughn:

The government is aware of a newspaper article published in the San Francisco Chronicle on
June 27, 2023 regarding San Francisco Police Department Officer Christina Hayes #449. The
article can be accessed here: https://www.sfchronicle.com/sf/article/sfpd-drug-cases-dismissed-
18173155.php.

We have formally requested information regarding these allegations and their pending
investigation from the San Francisco Police Department and the Department of Police
Accountability. We received a response from the San Francisco Police Department on June 28,
2023 disclosing that Officer Hayes is the subject of a pending investigation for “Conduct
Unbecoming an Officer,” described as follows:

   •   It is alleged that Officer Christina Hayes #449 had an inappropriate relationship with a
       Confidential Informant, in violation of DGO 2.01, Rule 9 (Misconduct).
   •   It is alleged that Officer Christina Hayes #449 divulged confidential information and
       impeded an active criminal investigation involving a Confidential Informant, in violation
       of DGO 2.01, Rule 48(Compromising Investigations) and Rule 49 (Divulging
       Confidential Information).

We are in the process of requesting additional information and will update you when we learn
more.



                                                                Very truly yours,

                                                                ISMAIL J. RAMSEY
                                                                United States Attorney

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                                        /s/
                                        HILLARY IRVIN
                                        Assistant United States Attorney




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